                   Case 2:21-cv-01143-JCC Document 9 Filed 08/31/21 Page 1 of 9


                                                         THE HONORABLE JOHN C. COUGHENOUR
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 7                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE
 9
                                                            No. 2:21-cv-01143
10   JACOB ANDERSON,

11                                    Plaintiff,            DEFENDANT HYDROMAX USA, LLC’S
                                                            ANSWER & AFFIRMATIVE DEFENSES
12            v.

13   HYDROMAX USA, LLC, an Indiana
     Corporation, and Does 10, inclusive,
14
                                      Defendants.
15

16   TO:               Jacob Anderson, Plaintiff;
17   AND TO:           Daniel Cairns, Vashon Law Firm PLLC, and Raeanne Miller, Raeanne Miller
18                     Law Firm, Attorneys for Plaintiff;
19   AND TO:           Clerk of the Court.
20            Defendant Hydromax USA, LLC (“Defendant”), by and through its counsel of record,
21   Jackson Lewis P.C., answers the allegations of Plaintiff’s Complaint for Damages and asserts
22   affirmative defenses as follows:
23                          I.     ANSWER TO “NATURE OF THE ACTION”
24            1.1      Defendant admits that Plaintiff Jacob Anderson’s (“Plaintiff”) action alleges claims
25   identified in paragraph 1.1 of the Complaint, but Defendant denies that Plaintiff’s claims have any
26   merit.
27

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      DEFENDANT HYDROMAX USA, LLC’S ANSWER &                                       Jackson Lewis P.C.
      AFFIRMATIVE DEFENSES - 1                                                  520 Pike Street, Suite 2300
                                                                                Seattle, Washington 98101
      (Case No. 2:21-cv-01143)                                                        (206) 405-0404
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 1                II.    ANSWER TO “PARTIES, JURISDICTION AND VENUE”

 2          2.1     Defendant restates its prior admissions and denials and incorporates them herein.

 3          2.2     Defendant lacks knowledge or information sufficient to admit or deny the

 4   allegations of this paragraph and therefore denies them.

 5          2.3     Defendant admits that it is in the business of pipeline inspection and other services

 6   supporting the utility industry. Defendant denies that it is an Indiana corporation. Defendant

 7   admits that it does business in Washington State, including in King County.

 8          2.4     Defendant lacks knowledge or information sufficient to admit or deny the

 9   allegations of this paragraph and therefore denies them.

10          2.5     Defendant denies that it is liable for all conduct by all of its employees. Defendant

11   lacks knowledge or information sufficient to admit or deny the remaining allegations of this

12   paragraph and therefore denies them.

13          2.6     Defendant denies this paragraph because Defendant has removed this lawsuit to

14   U.S. District Court for the Western District of Washington, Seattle Division.

15          2.7     Defendant admits that it transacts business in King County, Washington, but

16   Defendant denies the remaining allegations of this paragraph because Defendant has removed this

17   lawsuit to U.S. District Court for the Western District of Washington, Seattle Division.

18                        III.    ANSWER TO “STATEMENT OF FACTS”

19          3.1     Defendant restates its prior admissions and denials and incorporates them herein.
20          3.2     Defendant denies that the facts of Plaintiff’s Complaint support any claims against

21   Defendant. Defendant lacks knowledge or information sufficient to admit or deny the remaining

22   allegations of this paragraph and therefore denies them.

23          3.3     Denied.

24          3.4     Admitted.

25          3.5     Admitted.

26          3.6     Admitted.

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 1          3.7     Defendant lacks knowledge or information sufficient to admit or deny the

 2   allegations of this paragraph and therefore denies them.

 3          3.8     Defendant denies that it ordered a blood alcohol and 5-Panel DOT Lab Based Drug

 4   Test for Plaintiff instead of taking Plaintiff to seek medical treatment for his injury. Defendant

 5   admits that the drug test results were negative. Defendant further denies that it waited to take

 6   Plaintiff to the emergency room for treatment of a workplace injury until his drug test was

 7   complete. Defendant admits on information and belief that Plaintiff was diagnosed with a

 8   concussion but denies that Plaintiff’s concussion was plainly apparent to Defendant. Defendant

 9   lacks knowledge or information sufficient to admit or deny the remaining allegations of this

10   paragraph and therefore denies them.

11          3.9     Defendant denies that Plaintiff required accommodations to perform his work.

12   Defendant denies that Plaintiff informed Defendant of his needs for accommodation. Defendant

13   denies that it became aware that Plaintiff’s ability to work was affected by his injuries and that he

14   needed an accommodation.

15          3.10    Defendant admits that Plaintiff filed an industrial insurance (workers’

16   compensation) claim with the Washington Department of Labor and Industries (“LNI”).

17   Defendant lacks knowledge or information sufficient to admit or deny that Plaintiff’s claim was

18   approved.

19          3.11    Defendant denies that Plaintiff requested any accommodations from Defendant
20   following his June 15, 2018 injury, or that any accommodation was needed. Defendant denies that

21   it had a duty to engage in the interactive process with him. Defendant denies that Plaintiff

22   requested three weeks off following his June 15, 2018 injury. Defendant denies that Plaintiff was

23   told that he needed to keep working. Defendant lacks knowledge or information sufficient to admit

24   or deny Plaintiff’s allegations that he was seriously injured and needed medical care for weeks

25   after his June 15, 2018 injury, and therefore denies them.

26          3.12    Denied.

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 1           3.13    Defendant denies that it took any retaliatory actions against Plaintiff for suffering

 2   an injury, allegedly requesting a reasonable accommodation, or filing a workers’ compensation

 3   claim. Defendant admits that on or about July 12, 2018, Keanu Barnes ordered a 5-Panel DOT

 4   Lab Based Drug Test for Plaintiff, but Defendant denies that it harassed Plaintiff. Defendant

 5   admits that this record is stamped “Random Testing.”

 6           3.14    Admitted.

 7           3.15     Defendant admits that, on the Personnel Action Form for Plaintiff’s termination,

 8   under the question “Reasons for Involuntary Termination,” the “Work performance” answer is

 9   selected but elaborates with the following comments: “Continuously refusing to receive coaching

10   and follow safety precautions. Unmanageable personality. A serious safety liability to Company

11   and self. Frequently late. Irresponsible, cannot be left unsupervised in any role.” Defendant admits

12   that this Personnel Action Form lists John Mickelson in the “Created By” section and Keanu

13   Barnes in the “Approved By” section. Defendant further admits that Mr. Anderson is ineligible

14   for rehire.

15           3.16    Defendant denies that Mr. Mickelson told Plaintiff that Plaintiff was too much of a

16   nuisance. Defendant admits that it terminated Plaintiff but lacks knowledge or information

17   sufficient to admit or deny the remaining allegations of this paragraph and therefore denies them.

18           3.17    Denied.

19           3.18    Denied.
20                  IV.    ANSWER TO “FIRST & SECOND CAUSES OF ACTION
                                (Violations of Chapter 49.60 RCW et seq.)”
21

22           4.1     Defendant restates its prior admissions and denials and incorporates them herein.
23           4.2     Defendant admits paragraph 4.1 contains a partial quote of the statute cited.
24           4.3     Defendant admits that paragraph 4.3 contains a partial quote of the statute cited.
25           4.4     Defendant admits that paragraph 4.4 contains a partial quote of the authorities cited.
26           4.5     Defendant admits that paragraph 4.5 contains a partial quote of the regulation cited.
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      (Case No. 2:21-cv-01143)                                                       (206) 405-0404
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 1          4.6     Defendant admits that paragraph 4.6 states part of the employer requirements under

 2   the WLAD regarding accommodation of disabled employees, but denies that Plaintiff’s allegation

 3   in this paragraph constitutes a full and accurate explanation of the law of reasonable

 4   accommodation under the WLAD.

 5          4.7     Admitted.

 6          4.8     Denied.

 7          4.9     Denied.

 8          4.10    Denied.

 9          4.11    Denied.

10          4.12    Denied.

11                       V.      ANSWER TO “THIRD CAUSE OF ACTION
                              (Wrongful Termination in Violation of Public Policy)”
12

13          5.1     Defendant restates its prior admissions and denials and incorporates them herein.

14          5.2     Defendant admits that paragraph 5.2 contains a partial quote of the statute cited.

15          5.3     Defendant admits that paragraph 5.3 contains a partial quote of the statute cited.

16          5.4     Admitted.

17          5.5     Defendant lacks knowledge or information sufficient to admit or deny these

18   allegations and therefore denies them.

19          5.6     Defendant admits that paragraph 5.6 contains a partial quote of the statute cited.

20          5.7     Defendant admits that paragraph 5.7 contains a partial quote of the statute cited.

21   Defendant admits the remaining allegations in this paragraph on information and belief.

22          5.8     Defendant lacks knowledge or information sufficient to admit or deny these

23   allegations and therefore denies them.

24          5.9     Denied.

25                         VI.      ANSWER TO “PRAYER FOR RELIEF”

26          Defendant denies that Plaintiff is entitled to any relief whatsoever from Defendant.

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 1                                  DEFENDANT’S GENERAL DENIAL

 2             Defendant denies any allegation or statement in the Complaint, including Plaintiff’s Prayer

 3   for Relief, that is not expressly admitted.

 4                              DEFENDANT’S AFFIRMATIVE DEFENSES

 5             By way of further answer and without waiving any allegations previously denied,

 6   Defendant asserts the following affirmative defenses:

 7             1.       Mitigation/Avoidance of Consequences: Plaintiff has failed to mitigate any

 8   alleged damages or otherwise failed to avoid consequences.

 9             2.       Good Faith Interactive Process: Defendant engaged in a good faith interactive

10   process with Plaintiff regarding any alleged medical condition(s) and the need for any workplace

11   accommodation.

12             3.       Undue Hardship/Direct Threat: Any medically necessary accommodation

13   Plaintiff claims he requested would have constituted an undue hardship for Defendant or a direct

14   threat.

15             4.       Good Faith: Defendant’s conduct was reasonable and undertaken in good faith,

16   with reasonable grounds for believing that Defendant’s actions did not violate the law.

17             5.       Overriding Justification: Defendant had an overriding justification for

18   terminating Plaintiff’s employment.

19             6.       Job-Related Conduct: Defendant’s conduct was job-related and justified by
20   business necessity.

21             7.       Harassment: To the extent that Plaintiff claims harassment, Defendant exercised

22   reasonable care to prevent and promptly correct any allegedly harassing behavior to which Plaintiff

23   was allegedly subjected. Plaintiff unreasonably failed to take advantage of preventative and

24   corrective opportunities provided by Defendant, or otherwise failed to avoid harm.

25             8.       Same Decision: Without modifying Defendant’s answers to Plaintiff’s allegations

26   in the Complaint, if a trier of fact were to conclude that any protected status or activity motivated,

27   even in part, any employment decision challenged by Plaintiff, which Defendant expressly denies,

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      DEFENDANT HYDROMAX USA, LLC’S ANSWER &                                      Jackson Lewis P.C.
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 1   Defendant affirmatively states that the same decisions would have been made without

 2   consideration of any protected status or activity.

 3          9.       After-Acquired Evidence: Plaintiff’s damages may be limited by the doctrine of

 4   after-acquired evidence.

 5          10.      Statute of Limitations: One or more of Plaintiff’s claims are barred by the

 6   applicable statute of limitations.

 7          11.      Fed. R. Civ. P. 12(b) Defenses: One or more of Plaintiff’s claims may be subject

 8   to the defenses set forth in Fed. R. Civ. P. 12(b).

 9          12.      Exemplary Damages: To the extent that Plaintiff seeks exemplary damages,

10   Defendant’s conduct was not willful or made with intent to deprive Plaintiff of any legal rights.

11          13.      Bona Fide Occupational Qualification: Plaintiff did not meet a bona fide

12   occupational qualification.

13                                        RESERVATION OF RIGHTS

14          In further answer, Defendant reserves the right to add additional defenses and make further

15   claims as may be warranted by discovery.

16                              DEFENDANT’S REQUEST FOR RELIEF

17          WHEREFORE, having fully answered Plaintiff’s Complaint, Defendant requests the

18   following relief from the Court:

19          1.       That Plaintiff take nothing by the Complaint and that it be dismissed with prejudice;
20          2.       That Defendant be awarded its reasonable attorney fees, costs, and expenses

21   incurred; and

22          3.       For such other and further relief as this Court may deem just and equitable.

23   //

24   //

25   //

26   //

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      DEFENDANT HYDROMAX USA, LLC’S ANSWER &                                     Jackson Lewis P.C.
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 1        DATED this 31st day of August, 2021.

 2

 3                                          Respectfully submitted,

 4                                          JACKSON LEWIS P.C.

 5

 6                                          By:    s/ Michael Griffin
                                                   Michael A. Griffin, WSBA #29103
 7                                                 Michael.Griffin@jacksonlewis.com
                                                   Ph: 206-626-6416
 8                                                 Jonathan M. Minear, WSBA #41377
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 9                                                 Ph: 206-626-6432
                                                   520 Pike Street, Suite 2300
10                                                 Seattle, WA 98101
11                                                 Counsel for Defendant Hydromax USA,
                                                   LLC
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     DEFENDANT HYDROMAX USA, LLC’S ANSWER &                              Jackson Lewis P.C.
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                 Case 2:21-cv-01143-JCC Document 9 Filed 08/31/21 Page 9 of 9



 1                                   DECLARATION OF SERVICE

 2            The undersigned declares under penalty of perjury under the laws of the United States of

 3   America that a true and accurate copy of the document to which this declaration is affixed was

 4   sent to the following:

 5
      Raeanne Miller, WSBA #55786                       ☒ via CM/ECF System
 6    RAEANNE MILLER LAW FIRM
      9500 Roosevelt Way NE, Suite 310                  ☐ via Electronic Mail
 7
      Seattle, WA 98115                                 ☐ via USPS Mail
 8    RaeanneMillerLaw@outlook.com                      ☐ via Federal Express
 9                                                      ☐ via Hand-delivery
      Daniel Cairns, WSBA #49950
      VASHON LAW FIRM PLLC                              ☐ Other:
10
      13401 Vashon Hwy SW
11    Vashon, WA 98070
      Daniel@vashonlawfirm.com
12
      Counsel for Plaintiff
13

14
              DATED this 31st day of August, 2021.
15

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17                                                _______________________________________
18                                                Nani Vo
19
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21   4850-5381-1957, v. 3


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      (Case No. 2:21-cv-01143)                                                    (206) 405-0404
